      Case: 3:16-cv-00070-DMB-JMV Doc #: 1 Filed: 04/05/16 1 of 7 PageID #: 1



                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                             OXFORD DIVISION

GREAT AMERICAN LIFE INSURANCE COMPANY                                   PLAINTIFF

VS.                                                           3:16-CV-070-DMB-JMV
                                            CIVIL ACTION NO. _________________

AVA MITCHELL TANNER,
ALITA MARGARET MITCHELL, and
CRAIG J. CHEATHAM                                                    DEFENDANTS


                       COMPLAINT FOR INTERPLEADER

      COMES NOW Plaintiff, Great American Life Insurance Company (“GALIC”),

by and through its undersigned counsel, and pursuant to Rule 22 of the Federal

Rules of Civil Procedure and 28 U.S.C. §1335, and submits this, its Complaint for

Interpleader, and shows unto this Honorable Court as follows:

      1.     Plaintiff, GALIC, is a foreign insurance corporation organized and

existing under the laws of the State of Ohio, with its principle place of business in

Cincinnati, Ohio.

      2.     Defendant, Ava Mitchell Tanner, is an adult resident citizen of Saint

Francis County, Arkansas, who is presently and temporarily living in the state of

Florida, and may be served with process at 5618 Gristmill Street, Bradenton,

Florida 34203.

      3.     Defendant, Alita Margaret Mitchell, is an adult resident citizen of

DeSoto County, Mississippi and may be served with process at 6765 Allen Drive,

Horn Lake, Mississippi 38637.




                                     Page 1 of 7
       Case: 3:16-cv-00070-DMB-JMV Doc #: 1 Filed: 04/05/16 2 of 7 PageID #: 2



       4.    Defendant, Craig J. Cheatham, is an adult resident citizen of

Craighead County, Arkansas and may be served with process at 1409 Sullivan

Circle, Jonesboro, Arkansas 72404.

       5.    This cause is a civil suit, being an action for interpleader, pursuant to

Rule 22 of the Federal Rules of Civil Procedure and 28 U.S.C. §1335, for the purpose

of determining a question of actual controversy between citizens of different states,

wherein the matter in controversy exceeds the sum of Seventy-Five Thousand and

No/100 Dollars ($75,000.00), exclusive of interest and costs, thus this Court has

subject matter jurisdiction, pursuant to 28 U.S.C. §§1332 and 1335.

       6.    Venue is proper under 28 U.S.C. §§1391 and 1397 in that this action is

being filed in the judicial district in which a defendant resides and in which the

events giving rise to the claims occurred.

       7.    Don Mitchell applied for two (2) Tax Qualified Individual Retirement

Annuities and to transfer retirement funds in the amounts of $146,267.21 and

$150,000 to GALIC.      GALIC issued Annuity Numbers 07424736 and 07459388

(“Annuities”) on July 24, 2013.

       8.    Don Mitchell named his daughter, Ava Mitchell Tanner, as the original

primary beneficiary of the Annuities. See, Annuity Applications, Exhibits “A” and

“B”.

       9.    On August 17, 2015, Don Mitchell and Alita Margaret Cheatham were

married. See, Marriage License, Exhibit “C”.




                                      Page 2 of 7
      Case: 3:16-cv-00070-DMB-JMV Doc #: 1 Filed: 04/05/16 3 of 7 PageID #: 3



      10.     On August 17, 2015, GALIC received a written request to change the

address of the owner of the Annuities to 6765 Allen Drive, Horn Lake, Mississippi

and change the beneficiary of the Annuities to Alita D. Cheatham. See,

Contract/Certificate Information Change Form, Exhibit “D”.

      11.     On September 2, 2015, GALIC received a written request to change

the beneficiary of the Annuities to Craig J. Cheatham. See, Contract/Certificate

Information Change Form, Exhibit “E”.

      12.     On November 19, 2015, GALIC received a written request to change

the beneficiary of the Annuities to Alita Margaret Mitchell as the primary

beneficiary   and   Craig   J.   Cheatham   as     the   contingent   beneficiary.   See,

Contract/Certificate Information Change Form, Exhibit “F”.

      13.     On December 1, 2015, Don Mitchell died from cancer of the brain, lung

and bladder. See, Certificate of Death, Exhibit “G”.

      14.     On the date of death of Don Mitchell, the lump sum death benefit of

Annuity Number 07424736 was One Hundred Seven Thousand, Three Hundred

Thirty-Three and 54/100 Dollars ($117,333.54). See, correspondence dated January

5, 2016, Exhibit “H”.

      15.     On the date of death of Don Mitchell, the lump sum death benefit of

Annuity Number 07459388 was One Hundred Twenty Thousand, One Hundred

Fifty-Three and 25/100 Dollars ($120,153.25). See, correspondence dated January

5, 2016, Exhibit “I”.




                                     Page 3 of 7
      Case: 3:16-cv-00070-DMB-JMV Doc #: 1 Filed: 04/05/16 4 of 7 PageID #: 4



      16.      On January 6, 2016, GALIC received an e-mail from Ava Mitchell

Tanner concerning the death benefits of the Annuities. See, e-mail, Exhibit “J”.

      17.      On February 8, 2016, GALIC received correspondence from Ava

Mitchell Tanner regarding the death benefits of the Annuities. See, correspondence,

Exhibit “K”.

      18.      On February 25, 2016, GALIC received written correspondence from

Craig J. Cheatham regarding the claim of his mother, Alita Margaret Mitchell to

death benefits of the Annuities. See, correspondence, Exhibit “L”.

      19.      At present, GALIC is uncertain as to what party is the proper recipient

of the death benefits due under the Annuities. Therefore, GALIC is justifiably

uncertain whether paying the death benefits under the Annuities to Ava Mitchell

Tanner, Alita Margaret Mitchell, or Craig J. Cheatham, or to any other person or

entity, would prevent it from being subjected to multiple and vexatious litigation

and/or liability at some point in the future.

      20.      GALIC is unable to ascertain without hazard to itself who is legally

entitled to the death benefits due under the Annuities. GALIC cannot pay the same

without assuming the responsibility of determining doubtful questions of law and

fact concerning the changes in beneficiary made to the Annuities prior to the death

of Don Mitchell.

      21.      GALIC claims no beneficial interest in the death benefits due under

the Annuities, and GALIC does not in any respect collude with anyone touching the

matters in this action.




                                       Page 4 of 7
      Case: 3:16-cv-00070-DMB-JMV Doc #: 1 Filed: 04/05/16 5 of 7 PageID #: 5



      22.    GALIC is now, and has at all times since the date of death Don

Mitchell, been ready, willing, and able to pay the person or persons legally entitled

to receive the death benefits due under the Annuities, and is prepared to forthwith

deposit into the Registry of this Court two (2) checks in the amounts of One

Hundred Seven Thousand, Three Hundred Thirty-Three and 54/100 Dollars

($117,333.54), and One Hundred Twenty Thousand, One Hundred Fifty-Three and

25/100 Dollars ($120,153.25), representing the extent of its liability under the

Annuities, there to abide a determination by the Court as to the rightfully person or

persons entitled to same.

      23.    GALIC has been called upon to retain the undersigned attorneys for

the purpose of protecting its interest in prosecuting this action. GALIC requests

that an award be made out of the death benefits herein deposited into this Court to

pay for reasonable attorney’s fees, costs and other expenses, which GALIC is

compelled to expend in the prosecution of this Complaint for Interpleader.

      WHEREFORE, PREMISES CONSIDERED, Great American Life Insurance

Company prays as follows:

      A.     That the death benefits of the Annuities be accepted into the Registry

of this Court to be held in an interest-bearing account for future disbursement to

the person or persons adjudged by the Court to be entitled thereto.

      B.     That the Court adjudicate that the amounts deposited into the

Registry of the Court is the extent of GALIC's liability to anyone under the

Annuities, arising from the death of Don Mitchell.




                                     Page 5 of 7
      Case: 3:16-cv-00070-DMB-JMV Doc #: 1 Filed: 04/05/16 6 of 7 PageID #: 6



      C.     That process be issued to and served on the Defendants and that they

be required to assert their respective claims to the subject death benefits to be paid

into the Registry of the Court.

      D.     That the Court issue an Order of Injunction, pursuant to 28 U.S.C.

§2361, enjoining and restraining Ava Mitchell Tanner, Alita Margaret Mitchell, and

Craig J. Cheatham, their agents, attorneys, attorneys-in-fact, power-of-attorneys,

successors, personal representatives, heirs, devisees, legatees, and assigns from

asserting, instituting or prosecuting any and all demands, claims, actions or causes

of action against GALIC in regard to, pertaining to, or in any manner relating to or

arising out of the Annuities, and that in due course said Order of Injunction be

made permanent.

      E.     That an award be made to GALIC from the funds herein deposited into

this Court to pay for reasonable costs, attorneys’ fees and other expenses which

GALIC is compelled to expend in the prosecution of this, its Complaint in

Interpleader.

      F.     That GALIC be finally dismissed from this action with prejudice and

fully discharged from any further liability which in any manner may arise under

the Annuities, and that this Court shall retain jurisdiction over this matter to

adjudicate to whom the Clerk of this Court shall disburse the subject funds

deposited into the Registry of this Court.

      G.        GALIC prays for such other and further relief as the Court deems

equitable and just.




                                      Page 6 of 7
     Case: 3:16-cv-00070-DMB-JMV Doc #: 1 Filed: 04/05/16 7 of 7 PageID #: 7




     This the 5th day of April, 2016.


                                                 Respectfully submitted,

                                                 GREAT AMERICAN LIFE
                                                 INSURANCE COMPANY


                                            By: s/ Randy L. Dean
                                               Walter D. Willson (MSB #7291)
                                               Randy L. Dean (MSB #6011)

OF COUNSEL:

WELLS MARBLE & HURST, PLLC
Post Office Box 131
Jackson, Mississippi 39205-0131
Telephone: (601) 605-6900
Facsimile: (601) 605-6901
e-mail:      wwillson@wellsmar.com
             rdean@wellsmar.com




                                        Page 7 of 7
